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 Attorney for Plaintiff Eddie Dean Derrick


                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON                          )      Civil No. 3:16-md-2738-FLW-LHG
 TALCUM POWDER PRODUCTS                            )
 MARKETING, SALES PRACTICES                        )      MDL NO. 2738
 AND PRODUCTS LIABLITY LITIGATION                  )
                                                   )
 This document relates to: Eddie Dean Derrick,     )
 individually and as Executor of the Estate of     )
 Shirley Mae Hunt Derrick, deceased;               )
 Case No: 3:17-cv-7014-FLW-LHG                     )
                                                   )

                                     NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Short Form Complaint and Jury Demand has been filed this date on behalf

 of Plaintiff Eddie Dean Derrick.

 Dated: September 12, 2017                         By: /s/ David McMullan
                                                   David McMullan
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 12, 2017, a copy of the foregoing NOTICE OF

 FILING was filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be

 sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

 filing receipt. Parties may access this filing through the Court’s system.

                                                       /s/ David McMullan
                                                       David McMullan
